AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.0 1-
   information associated with Facebook account                              )
username “Micheal Turner” that is stored at premises                         )
                                                                             )
         controlled by Meta Platforms, Inc.
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A.

located in the             Northern               District of                 California                , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
       18 U.S.C. 1512                             Witness Tampering



          The application is based on these facts:
        See the attached affdavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:
                                                                                      y                                       ) is requested
                                                                                                                                     q       under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached   d ssheet.
                                                                             tached
                                                                                 ed    heet.
                                                                                       he


                                                                                                      Applicant’s signature

                                                                                             Jacob Dettmering, Special Agent (FBI)
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                                                      annss).
                                                      (specify reliable electronic means)
                                                                                    ea


Date:
                                                                                                        Judge’s signat
                                                                                                                signature
                                                                                                                    aatture

City and state:0LOZDXNHH:LVFRQVLQ                                                          Nancy Joseph, U.S. Magistrate Judge
                     Case 2:24-mj-00905-NJ                      Filed 09/14/24              Page 1 ofPrinted
                                                                                                      18 name  and title
                                                                                                             Document    1
                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Jacob A. Dettmering, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain Facebook account that is stored at premises owned,

maintained, controlled, or operated by Meta Platforms, Inc. (“Meta”), a company headquartered

at 1601 Willow Road, Menlo Park, California. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application for

a search warrant under 18 U.S.C. § 2703(c)(1)(A) to require Meta to disclose to the government

copies of the information (including geolocation information) further described in Section I of

Attachment B.     Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been since January 7, 2018. I was assigned to the FBI Capital Area Gang Task Force (CAGTF) in

Baton Rouge, Louisiana from June 15, 2018, to April 1, 2020. Since April 1, 2020, I have been

assigned as the Task Force Coordinator for the Milwaukee Area Safe Streets Task Force

(MASSTF). Since 2018, I have investigated violations of federal law, directed drug and street gang

investigations, obtained and executed search and arrest warrants related to the distribution of

illegal narcotics, and debriefed confidential informants and cooperating defendants. I am an

investigative or law enforcement officer of the United States within the meaning of Title 18, United

States Code, Section 2510(7), in that I am empowered by law to conduct investigations of and to

make arrests for federal offenses.



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        3.      I have been trained in a variety of investigative and legal matters, including the

topics of Fourth Amendment searches, the drafting of search warrant affidavits, and probable

cause. I have participated in criminal investigations, surveillance, search warrants, interviews, and

debriefs of arrested subjects. As a result of this training and investigative experience, I have learned

how and why violent actors typically conduct various aspects of their criminal activities.

        4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of 18 U.S.C. §§ 1512(a)(2)(A), 1512(a)(2)(B), 1512(b)(1), and 1512(k), have been

committed, are being committed, and will be committed by unknown persons. There is also

probable cause to believe that the location information described in Attachment B will constitute

evidence of these criminal violations and will lead to the identification of individuals who are

engaged in the commission of these offenses.

                                          JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. § 2703(c)(1)(A). Specifically,

the Court is “a district court of the United States . . . that has jurisdiction over the offense being

investigated.” 18 U.S.C. § 2711(3)(A)(i).

                        BACKGROUND CONCERNING FACEBOOK

        7.      Meta is a United States company that owns and operates Facebook, a social media

platform, and is a provider of electronic communications services and remote computing services
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as defined by 18 U.S.C. §§ 2711(2) and 3127(1). Users can access Facebook and register for an

account, like the target account listed in Attachment A, via its website (facebook.com) or via its

mobile applications (Facebook and Messenger). Each Facebook account is assigned a unique user

ID number and may also be associated with a unique user-created username.                Users can

periodically change their usernames but no two users can have the same username at the same

time.

        8.     Facebook users can create, view, share, and interact with news, images, videos, and

other information and can communicate in real-time with other users through text, voice, and video

messaging. Accounts can also be used for event planning, buying and selling items, payments,

gaming, fundraising, and to interact with groups, businesses, and other online platforms.

        9.     Meta uses information about the location of its Facebook users for business

purposes and to enhance the functionality of its platform, such as to personalize and target

advertisements, display local news stories, suggest nearby events, and detect suspicious account

activity. Location determinations are informed by connection records, device-based data, and

user-generated information. Examples of data used by Meta to determine a user’s location include

IP addresses, Global Position System (“GPS”) data, “check-ins,” and event responses. Meta also

uses this data to estimate the city or town where the user is situated, which Meta refers to as the

user’s “Primary Location.”

        10.    Meta collects geolocation data, which it refers to as “precise location information,”

from a user’s device if each of the following conditions are met. First, the Facebook mobile

application must be installed on the device. Second, a user of that device must have granted

“permission” through the device’s operating system for the mobile application to receive and

transmit location data to Meta. Third, a user of that device must have enabled “location services”

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through the device’s operating system. Fourth, the mobile application must be logged into a

Facebook account and, if required by the permission or other settings, be in active use.

       11.     This proposed search warrant seeks the historical and prospective production of

geolocation information collected and retained by Facebook in the normal course of business.

Meta produces geolocation data to law enforcement as datapoints consisting of a latitude,

longitude, and timestamp. According to Meta, it retains only one such datapoint for an account,

with each subsequent datapoint replacing the prior. Based on my training and experience, I know

that Meta can produce that stored datapoint, which it refers to as “Last Location,” and it can also

produce subsequent datapoints on a rolling basis.

                                      PROBABLE CAUSE

       12.     The United States, including the Federal Bureau of Investigation, is conducting a

criminal investigation of an unidentified subject subjects regarding possible violations of 18 U.S.C.

§§ 1512(a)(2)(A), 1512(a)(2)(B), 1512(b)(1), and 1512(k), .

       13.     The “Wild 100s,” also known as the “Shark Gang” or “SNG,” is a violent street

gang in Milwaukee, that engaged in various criminal activities, including crimes of violence,

illegal firearms possession, drug distribution, conspiracy, and fraud, in Milwaukee and elsewhere.

       14.     On April 25, 2023, a Grand Jury in the Eastern District of Wisconsin returned a

sealed 43-count indictment charging 30 members and affiliates of the Wild 100s with mail fraud

conspiracy, in violation of 18 U.S.C. § 1349; mail fraud, in violation of 18 U.S.C. § 1341; murder-

for-hire, in violation of 18 U.S.C. § 1958; use and discharge of a firearm during a crime of violence

resulting in death, in violation of 18 U.S.C. § 924(c), 924(j); a conspiracy to violate the laws of

the United States, in violation of 18 U.S.C. § 371, and various firearms and drug possession crimes,



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in Case No. 23-CR-077. That case was recently set for trial, and the trial is scheduled to begin in

November 2024.

       15.       On Wednesday, September 11, 2024, lead defendant Ronnell Bowman, who is

charged with murder-for-hire, along with other crimes, called one of the Government’s witnesses

(CW-1) on a recorded jail call, and referenced his upcoming trial. Bowman indicated that CW-1

would be testifying against him, and that Bowman would soon receive the witness list. Bowman

also referenced CW-1’s alleged ongoing relationship with another of the Government’s witnesses

(CW-2). During the call, Bowman suggests that he could provide CW-1 “3gs,” a possible reference

to $3,000, and suggests that CW-1 has to “clear my motherfuckin name.” Bowman claims that

CW-1 and others are “lying on” him, are the reason that he was charged, and tells CW-1 to call

“dude,” which appears to be a reference to CW-2 and inquire about why “he’s lying on me, bro.”

Bowman tells CW-1 to tell CW-2 to “clear my name.”

       16.       On Friday, September 13, 2024, at approximately 8:55 p.m., CW-2 observed a

Facebook post by Facebook username “Micheal Turner” that listed three addresses in Milwaukee,

Wisconsin. The first address posted by “Michael Turner” is the current residence of CW-2’s

mother and sister, and CW-2’s prior residence in Milwaukee. CW-2 provided a screenshot of this

Facebook post to investigators, along with screenshots of text messages that he received.

       17.       At approximately 8:12 p.m. on Friday, September 13, 2024, CW-2 received the

following messages from call number 414-264-9704:

             x   We on yo ass nigga them addresses got dropped hide ya family snitch ass nigga

             x   Scary ass nigga you still in Texas we fina show you some

             x   [The first of the three addresses posted by Facebook username “Micheal Turner”

                 and current residence of CW-2’s mother and sister.]
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       18.       At approximately 8:57 p.m. on Friday, September 13, 2024, CW-2 received the

following message from call number 414-376-5411:

             x   1-2 we coming for you 3-4 tell yo momma lock them doors 5-6 you shouldn’t have

                 snitched 7-8 that was your biggest mistake 9-10 she better let me in[.]

       19.       Investigators ran both phone numbers through a law enforcement telephone

application to identify a service provider. The search indicated that xx9704 has a provider of

“Sinch-Onvoy Spectrum-NRS-10X/2”. The xx5411 number had a listed provider of Sinch Voice-

NSR-10X-Port/1. Based on that information, Investigators know that the numbers utilized are

considered Voice over Internet Protocol “VOIP.” Investigators know through training and

experience that VOIP’s are often used when individuals are committing crimes, in an attempt to

conceal the actual device they used to commit the crime and conceal their identity as well.

       20.       Your affiant also reviewed the Facebook page for “Micheal Turner” and found that

in the “About” section, the account has it listed as a female, current resident of the City of

Milwaukee, and an MATC Milwaukee graduate from 1982.                   The URL for the page is

https://facebook.com/diane.stacy.167, and there is a picture in the publicly viewable account which

has a cake which reads, “Happy Birthday Diane.” There is also a picture which is from June 1,

2025, and shows a Milwaukee County Sheriff’s Deputy escorting a black male through what

appears to be a courthouse.        The caption for the photo is, “Number 1grandson Tyvon”.

Additionally, There was a picture posted on March 20, 2015, with the caption, “Happy Birthday

Tyvon today you turn ? Years old.”

       21.       I am also aware that in November of 2023 an unredacted copy of an interrogation

video of CW-2, during which CW-2 provided information to members of the Milwaukee Police

Department about various crimes committed by the Wild 100s was obtained and posted by Vernell

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Hamilton, and posted to social media by Vernell Hamilton, another Wild 100s member and co-

defendant in 23-CR-77. The interrogation video of CW-2 had been produced as discovery in a

homicide prosecution in Milwaukee County Circuit Court, and based upon Vernell Hamilton’s

posting of the video and screenshots of various documents, it appears that Hamilton had obtained

the entire set of discovery in the state homicide case.

       22.      Based on my training and experience, I know that both historical and prospective

location information can assist investigators in identifying the person who controls Facebook

username “Micheal Turner,” and who publicly posted information about addresses associated with

CW-2, and any connection between that Facebook account and call numbers 414-264-9704 and

414-376-5411.

                                AUTHORIZATION REQUEST

       23.      Based on the forgoing, I request that the Court issue the proposed search warrant.

       24.      I further request that the Court authorize execution of the warrant at any time of

day or night, owing to the potential need to locate the user of the account outside of daytime hours.




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                                       ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with Facebook account username “Micheal

Turner” (https://facebook.com/diane.stacy.167) (the “Account”), that is stored at premises owned,

maintained, controlled, or operated by Meta Platforms, Inc., a company headquartered at 1601

Willow Road, Menlo Park, California.




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                                        ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Meta Platforms, Inc. (“Meta”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Meta, regardless of whether such information is located within or outside

of the United States, and including any information that has been deleted but is still available to

Meta, Meta is required to disclose the following information to the government for each account

or identifier listed in Attachment A:

       A.      The following information about the customers or subscribers of the Account,
               from the date the Account was created to the present, unless specified otherwise
               below:

               1.      Names (including subscriber names, user names, and screen names);

               2.      Addresses (including mailing addresses, service addresses, residential
                       addresses, business addresses, and e-mail addresses);

               3.      Records of session times and durations from September 1, 2024 to present;

               4.      Length of service (including start date) and types of service utilized;

               5.      Telephone or instrument numbers (including model type/numbers, phone
                       numbers, IMSIs, IMEIs, MEIDs, UDIDs, MAC addresses, and advertising
                       IDs);

               6.      Other subscriber numbers or identities, including any temporarily assigned
                       network addresses (including the registration and session Internet Protocol
                       (“IP”) addresses with associated port numbers); and

               7.      Means and source of payment for such service (including any credit card
                       or bank account number).
       B.      The following location information:

               1.      Primary Location;
               2.      Last Location; and




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     3.    All geolocation information for a period of 30 days, during all times of
           day and night.




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II.    Information to be seized by the government

       All information described above in Section I that constitutes evidence of violations of 18

U.S.C. § 1512 involving unidentified subjects.



The review of this electronic data may be conducted by any government personnel assisting in the

investigation, who may include, in addition to law enforcement officers and agents, attorneys for

the government, attorney support staff, and technical experts. Pursuant to this warrant, the FBI

may deliver a complete copy of the disclosed electronic data to the custody and control of attorneys

for the government and their support staff for their independent review.




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                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
    information associated with Facebook account                            )
      username “Micheal Turner” that is stored at                           )
      premises controlled by Meta Platforms, Inc.                           )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before                               (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Nancy Joseph                       .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the llater
                                                                                aatter
                                                                                    e specific date of                                 .


Date and time issued:#DP
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City and state:0LOZDXNHH:LVFRQVLQ                                                      Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                        ATTACHMENT B

                                 Particular Things to be Seized

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               4.      Length of service (including start date) and types of service utilized;

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                       network addresses (including the registration and session Internet Protocol
                       (“IP”) addresses with associated port numbers); and

               7.      Means and source of payment for such service (including any credit card
                       or bank account number).
       B.      The following location information:

               1.      Primary Location;
               2.      Last Location; and




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     3.    All geolocation information for a period of 30 days, during all times of
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for the government and their support staff for their independent review.




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